Case 8-19-76232-reg Doci1 Filed 09/10/19 Entered 09/10/19 09:06:22

 

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United States Bankruptcy Court for the:

: Lage if District of ao WiC
| (State) - i

Case number (/f known): Chapter [ ( | C) Check if this is an

}

4

amended filing

a
r

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/16

 

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, /nstructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name Gelene Wy . Lye {) a Pepe ty Cul)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VV?
2. All other names debtor used
in the last 8 years
Include any assumed names,
trade names, and doing business
as names
_ Qo
3. Debtor’s federal Employer 6 ae H4T os & 7
Identification Number (EIN) —_— —_ TT
4. Debtor’s address Principal place of business Mailing address, if different from principal place
A of business
4 ne Mi u (NA YY
Number Street . Number Street
Wes by lee f P.O. Box
City! State ZIP (Code City State ZIP Code
| Location of principal assets, if different from
“COG principal place of business
Say
County
Number Street
City State ZIP Code
s. Debtor's website (URL) No) 2
* ul

 

Aorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
L] Partnership (excluding LLP)
O) Other. Specify:

6. Type of debtor

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

 
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Debtor an “ t N A p Pia fe r™ LO f ¥ Case number (if known)

Name '

 

. . A. Check one:
7. Describe debtor’s business

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
2€ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

C) Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(63A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

(] Clearing Bank (as defined in 11 U.S.C. § 781(3))

L] None of the above

B. Check ail that apply.

CL) Tax-exempt entity (as described in 26 U.S.C. § 501)

C] investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C,
§ 80a-3)

L) investment advisor (as defined in 15 U.S.C. § 80b-2(a){11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/iwww.uscourts.gov/four-digit-national-association-naics-codes .

s. Under which chapter of the Check one:
Bankruptcy Code is the g
debtor filing? Chapter 7

LJ Chapter 9
Ja Chapter 11. Check all that apply.

C2 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

©) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). Hf the
debtor is a small business debtor, attach the most recent balance sheet, stalement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

() A pian is being filed with this petition.

CQ] Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

() The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

( The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Ci Chapter 12

9, Were prior bankruptcy cases () No

iled i h = ‘ \ -. —
renin sie rote years? Pes. District tbe WU ¥ When 4 22. 2¢ {case number x - | 4 7 Zz 4 25
i MM / DD/YYYY

if more than 2 cases, attach a a c r
separate list. District When ase number

MM / DDIYYYY

 

10. Are any bankruptcy cases no
pending or being filed by a -
business partner or an Ol yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 14, MM / OD /YYYY
attach a separate list. Case number, if known

 

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 2
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11. Why is the case filed in this Check all that apply:
district? . . os : :
| Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Cha bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own or have Avo
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)
attention?

C] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

QO it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

CI it needs to be physically secured or protected from the weather.

(C) it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

( other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

ls the property insured?

C} No

C) Yes. insurance agency

 

Contact name

 

Phone

 

 

Statistical and administrative information

 

 

13. Debtor’s estimation of Check one:

available funds € Funds will be available for distribution to unsecured creditors.

Ad atter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

ZAGN-49 CJ 4,000-5,000 CO] 25,001-50,000
14. Estimated number of Q 50-99 Q 5,001-10,000 © 50,001-100,000
creditors © 100-199 Q 10,001-25,000 ©) More than 100,000
C1) 200-999
() $0-$50,000 CJ $1,000,001-$10 million C1 $500,000,001-34 billion
15, Estimated assets Q) $50,001-$100,000 €] $10,000,001-$50 million Q $1,000,000,001-$10 billion
-EF$100,001-$500,000 C) $50,000,001-$100 million (1 $10,000,000,001-$50 billion
©) $500,001-$4 million Q) $100,000,001-$500 million © More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor nh) Yr M aL ko Ce H (org Case number (if known),
4 poe

 

Ndme
Estimated liabiliti CO $0-$50,000 Cl $1,000,001-$10 million CJ $500,000,004-$1 billion
16. Estimated Hanilities ©) $50,001-$100,000 ©) $10,000,001-$50 million C1 $1,000,000,001-$10 billion
h$100,001-$3500,000 C) $50,000,001-$100 million  $10,000,000,001-$50 billion
C) $500,001-$1 million C} $100,000,001-$500 million L] More than $50 billion

 

Request for Relief, Declaration, and Signatures

 

 

WARNING -~ Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of 2 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

  
 

 

 

 

 

 

 

 

 

 

 

 

etition.
debtor P

| have been authorized to file this petition on behalf of the debtor.

= | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executed on O 0} i 9

M7 1YYYY .
M D Y a | _—— SH

x An {49 fla Favs
Bgnallire of Spt orized repregentaWe of debtor Printed name {
Title _* ' resi olen

18. Signature of attorney x Date

Signature of attorney for debtor MM /DD IYYYY
Printed name

_ Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

www.nyeb.uscourts. gov

 

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): U Ny Aw Peofarty (CocP CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same: (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 1] U.S.C. § 101(2); (iv) are general partners in the same partnership: (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners: or (vil) have. or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541 (a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

-1G-TRAUDW (> —
1. CASE NOC. \4 7 JUDGE: TWSSMAY _ pisrricr/pivision: East Oivtiitct

 

—

CASE PENDING: (YES/NO): {/fclosed| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR'S SCHEDULE “A/B ~ PART 1° WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

e SCHEDULE A/B: ASSETS ~ REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9° WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): |/fclosed| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, ete.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

6 SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART I (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR'S SCHEDULE “A/B ~ PART 1° WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

e SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9° WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 
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{OVER]
DISCLOSURE OF RELATED CASES (cont'd)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): |/fclosed| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above);

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY}:
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1° WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS —- REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —- PART 9° WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

Tam admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.
Z

 

 

Signature of Debtor’s Attorney kl a ie
Yr a de

Mailing Address of Debtok/Petitioner

Weck Heupsteedl Hy [s3e

City, State, Zip C dde

[eqla F27@ Actes /. Conn

Email Address

Et 203 -UeYy

Area Code and Telephone Number 7

 

 

 

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result,
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

- — ek Wan sam a Nan rh x
In re: Case No.
Chapter A
y
Lyrae Prots hy Co. Debtor(s)
ee a ea ee ee em he Fe me TE ere mf ml om OE oe aw mn mr cm en x

AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s). must provide the following
information:

Name of Filer: Ne L a fav yr NA
Address: & Wn ~aRer V) x2

Email Address:

Phone Number: (C1é ) 2 b 3 CB G54
Name of Debtor(s): \yetene —tmeacenls Uyene (oper lu’

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

 

 

 

 

] PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

1 DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE REGEIVED:
| WAS NOT PAID.

1 WAS PAID.

Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

pac A \A\WA

  

 

i
IT Dee Vv
Filer’s Signatire ]
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Chapter

Debtor(s)

Case No.

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her

knowledge.

swe VANS

 

 

Joint Debtor

s/

 

Attorney for Debtor

USBC-44

Rev. 11/15
Case 8-19-76232-reg Doc1

Christiana Trust
Selene Finance
P.O. 422039
Houston, TX 77242

Selene Finance LP

c/o Friedman Vartolo LLP
85 Broad Street

Suite 501

New York, NY 1004

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